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                    Exhibit 2
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Monthly Return of Equity Issuer on Movements in Securities

For the month ended
(dd/mm/yyyy) :                            30/11/2020

To : Hong Kong Exchanges and Clearing Limited


Name of Issuer              SMI Holdings Group Limited
Date Submitted              02/12/2020


I. Movements in Authorised Share Capital


1. Ordinary Shares

(1) Stock code :      198       Description :               Ordinary shares

                                                          Par value      Authorised share
                                        No. of ordinary    (State             capital
                                            shares        currency)      (State currency)

Balance at close of preceding month      4,000,000,000    HK$0.50       HK$2,000,000,000

Increase/(decrease)                             N/A                           N/A



Balance at close of the month            4,000,000,000    HK$0.50       HK$2,000,000,000


(2) Stock code :      N/A       Description :                     N/A

                                                          Par value      Authorised share
                                        No. of ordinary    (State             capital
                                            shares        currency)      (State currency)

Balance at close of preceding month             N/A         N/A               N/A

Increase/(decrease)                             N/A                           N/A



Balance at close of the month                   N/A         N/A               N/A




                                                                                            March 2019
                                                                                    Qin_00002693
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2. Preference Shares

 Stock code :          N/A      Description :                         N/A

                                            No. of         Par value        Authorised share
                                          preference        (State               capital
                                            shares         currency)        (State currency)

Balance at close of preceding month             N/A           N/A               N/A

Increase/(decrease)                             N/A                             N/A



Balance at close of the month                   N/A           N/A               N/A


3. Other Classes of Shares

 Stock code :    N/A            Description :                         N/A

                                          No. of other     Par value        Authorised share
                                           classes of       (State               capital
                                             shares        currency)        (State currency)

Balance at close of preceding month             N/A           N/A               N/A

Increase/(decrease)                             N/A                             N/A



Balance at close of the month                   N/A           N/A               N/A


Total authorised share capital at the end of the month (State    HK$2,000,000,000
currency) :

II. Movements in Issued Share Capital

                             No. of ordinary shares      No of preference    No. of other
                              (1)               (2)          shares       classes of shares

Balance at close of
preceding month        2,710,393,916            N/A             N/A                N/A

Increase/ (decrease)
during the month              N/A               N/A             N/A                N/A

Balance at close of
the month              2,710,393,916            N/A             N/A                N/A




                                                                                               March 2019
                                                                                      Qin_00002694
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III. Details of Movements in Issued Share Capital


Share Options (under Share Option Schemes of the Issuer)
   Particulars of                                                       No. of new shares of No. of new shares of
   share option                                                         issuer issued during issuer which may be
      scheme                                                             the month pursuant     issued pursuant
  including EGM              Movement during the month                         thereto       thereto as at close of
   approval date                                                                                   the month
(dd/mm/yyyy) and
  class of shares
      issuable      Granted     Exercised    Cancelled       Lapsed
 1. Share
       option          -            -             -             -                -                      -
       scheme
 (adopted on
 30/9/2009)
 Exercise price:
 HK$4.37 per
 share
   (granted on
 12/10/2017)
 Ordinary
 shares
 (Note 1)

 2.N/A                  -             -              -          -                -                      -




  (   /   /      )

 (Note 1)

 3.N/A                  -             -              -          -                -                      -




  (   /   /      )

 (Note 1)
                                          Total A. (Ordinary shares)           N/A
                                                 (Preference shares)           N/A
                                                        (Other class)          N/A
Total funds raised during the month from exercise
of options (State currency)                         N/A




                                                                                                March 2019
                                                                                        Qin_00002695
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Warrants to Issue Shares of the Issuer which are to be Listed
                                                                                               No. of new No. of new
                                                                                               shares of    shares of
                                                                                                 issuer   issuer which
                                                                                                issued        may be
                                                                                               during the     issued
                                                 Nominal value                                   month       pursuant
                                  Currency        at close of       Exercised Nominal value pursuant thereto as at
Description of warrants          of nominal       preceding         during the at close of the  thereto    close of the
(Date of expiry - dd/mm/yyyy)       value           month             month         month                     month
 1. N/A



   (     / /         )
     Stock code (if listed)
     Class of shares
     issuable (Note 1)
     Subscription price
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)                    (   /   /      )
 2.N/A



   (     / /         )
     Stock code (if listed)
     Class of shares
     issuable (Note 1)
     Subscription price
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)                    (   /   /      )
 3.N/A



   (     / /         )
     Stock code (if listed)
     Class of shares
     issuable (Note 1)
     Subscription price
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)                    (   /   /      )
 4.N/A



   (       / /         )
       Stock code (if listed)
       Class of shares
       issuable (Note 1)
       Subscription price
       EGM approval date
       (if applicable)
       (dd/mm/yyyy)                  (   /   /      )

                                                         Total B.     (Ordinary shares) N/A
                                                                    (Preference shares) N/A
                                                                           (Other class) N/A




                                                                                                      March 2019
                                                                                               Qin_00002696
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Convertibles (i.e. Convertible into Shares of the Issuer which are to be Listed)
                                                                                              No. of new No. of new
                                                                                              shares of    shares of
                                                                                                 issuer  issuer which
                                                                                                issued       may be
                                                                                              during the     issued
                                                                                                 month      pursuant
                                                 Amount at                                     pursuant thereto as at
                                 Currency of      close of       Converted      Amount at       thereto   close of the
                                   amount        preceding       during the    close of the                  month
Class and description            outstanding       month           month          month
 1. 5% Convertible Notes
    due 2019 (Reference is
    made to announcement
    dated 19/12/2017)               HK$    10,000,000                -        10,000,000          -         2,000,000
     Stock code (if listed)          198
     Class of shares
     issuable (Note 1)      Ordinary share
     Subscription price HK$5.00 per share
     EGM approval date
     (if applicable)
     (dd/mm/yyyy))                   N/A
 2. 7.5% Convertible Loans
    due 2020 (Reference is
    made to announcement
    dated 02/05/2018)               HK$    651,550,000               -        651,550,000         -        169,233,766
     Stock code (if listed)          198
     Class of shares
     issuable (Note 1)      Ordinary share
     Subscription price HK$3.85 per share
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)                    N/A
 3. N/A




     Stock code (if listed)
     Class of shares
     issuable (Note 1)
     Subscription price
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)               (   /   /    )
 4. N/A




     Stock code (if listed)
     Class of shares
     issuable (Note 1)
     Subscription price
     EGM approval date
     (if applicable)
     (dd/mm/yyyy)               (   /   /    )
                                                             Total C. (Ordinary shares)        N/A
                                                                    (Preference shares)        N/A
                                                                           (Other class)       N/A




                                                                                                      March 2019
                                                                                              Qin_00002697
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Any other Agreements or Arrangements to Issue Shares of the Issuer which are to be Listed, including
Options (other than under Share Option Schemes)
                                                                   No. of new shares     No. of new shares of
                                                                    of issuer issued     issuer which may be
                                                                   during the month         issued pursuant
                                                                    pursuant thereto     thereto as at close of
 Full particulars including EGM approval date (dd/mm/yyyy),                                    the month
 if applicable, and class of shares issuable:
 1. N/A


                                                      ( / /       )
                                                    shares (Note 1)

 2.   N/A


                                                      ( / /       )
                                                    shares (Note 1)

 3.   N/A


                                                      ( / /       )
                                                    shares (Note 1)

                                     Total D.     (Ordinary shares)    N/A
                                                (Preference shares)    N/A
                                                       (Other class)   N/A




                                                                                                 March 2019
                                                                                        Qin_00002698
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Other Movements in Issued Share Capital
                                                                             No. of new No. of new
                                                                             shares of    shares of
                                                                                issuer  issuer which
                                                                               issued       may be
                                                                             during the     issued
                                                                                month      pursuant
                                                                              pursuant thereto as at
                                                                               thereto   close of the
   Type of Issue                                                                            month

                                           Class     of   shares ________
                                           issuable (Note 1)
                                State      Issue and allotment   ( / /   )
1. Rights issue    At price :
                                currency   date : (dd/mm/yyyy)

                                           EGM approval date:    ( / /   )
                                           (dd/mm/yyyy)




                                           Class     of   shares ________
                                           issuable (Note 1)
                                State      Issue and allotment   ( / /   )
2. Open offer      At price :
                                currency   date : (dd/mm/yyyy)

                                           EGM approval date:    ( / /   )
                                           (dd/mm/yyyy)




                                           Class     of   shares ________
                                           issuable (Note 1)
                                State      Issue and allotment   ( / /   )
3. Placing         At price :
                                currency   date : (dd/mm/yyyy)

                                           EGM approval date:    ( / /   )
                                           (dd/mm/yyyy)




                                           Class     of   shares ________
                                           issuable (Note 1)

                                           Issue and allotment   ( / /   )
4. Bonus issue
                                           date : (dd/mm/yyyy)

                                           EGM approval date:    ( / /   )
                                           (dd/mm/yyyy)




                                                                                      March 2019
                                                                              Qin_00002699
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                                                                              No. of new No. of new
                                                                              shares of    shares of
                                                                                 issuer  issuer which
                                                                                issued       may be
                                                                              during the     issued
                                                                                 month      pursuant
                                                                               pursuant thereto as at
                                                                                thereto   close of the
   Type of Issue                                                                             month

                                            Class     of   shares ________
                                            issuable (Note 1)
                                 State      Issue and allotment   ( / /   )
5. Scrip dividend   At price :
                                 currency   date : (dd/mm/yyyy)

                                            EGM approval date:    ( / /   )
                                            (dd/mm/yyyy)




                                            Class    of   shares ________
                                            repurchased (Note 1)
6. Repurchase of                            Cancellation date :   ( / /   )
   shares                                   (dd/mm/yyyy)

                                            EGM approval date:    ( / /   )
                                            (dd/mm/yyyy)




                                            Class   of   shares ________
                                            redeemed (Note 1)
7. Redemption of                            Redemption date :     ( / /   )
   shares                                   (dd/mm/yyyy)

                                            EGM approval date:    ( / /   )
                                            (dd/mm/yyyy)




                                            Class     of   shares ________
                                            issuable (Note 1)
8. Consideration                 State      Issue and allotment   ( / /   )
                    At price :
   issue                         currency   date : (dd/mm/yyyy)

                                            EGM approval date:    ( / /   )
                                            (dd/mm/yyyy)




                                                                                       March 2019
                                                                               Qin_00002700
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                                                                                                 No. of new No. of new
                                                                                                 shares of    shares of
                                                                                                    issuer  issuer which
                                                                                                   issued       may be
                                                                                                 during the     issued
                                                                                                    month      pursuant
                                                                                                  pursuant thereto as at
                                                                                                   thereto   close of the
       Type of Issue                                                                                            month

                                                        Class     of   shares ________
                                                        issuable (Note 1)
9. Capital                                              Issue and allotment      ( / /     )
   reorganisation                                       date : (dd/mm/yyyy)

                                                        EGM approval date:       ( / /     )
                                                        (dd/mm/yyyy)




                                                        Class     of   shares ________
                                                        issuable (Note 1)
10. Other                           State                                        ( / /     )
    (Please specify) At price :     currency            Issue and allotment
                                                        date : (dd/mm/yyyy)

                                                        EGM approval date:       ( / /     )
                                                        (dd/mm/yyyy)

                                                                          Total E.  (Ordinary
                                                                                      shares)          N/A
                                                                          (Preference shares)          N/A
                                                                                 (Other class)         N/A




 Total increase / (decrease) in ordinary shares during the month (i.e. Total of A to E):       (1)           N/A
                                                                                               (2)           N/A
 Total increase / (decrease) in preference shares during the month (i.e. Total of A to E):                   N/A
 Total increase / (decrease) in other classes of shares during the month (i.e. Total of A to      N/A
 E):
 (These figures should be the same as the relevant figures under II above (“Movements in Issued Share
 Capital”).)



IV. Confirmations


 We hereby confirm to the best knowledge, information and belief that, in relation to each of the securities
 issued by the issuer during the month as set out in Part III which has not been previously disclosed in a return
 published under rule 13.25A, it has been duly authorized by the board of directors of the listed issuer and,
 insofar as applicable:

 (Note 2)

 (i)        all money due to the listed issuer in respect of the issue of securities has been received by it;

 (ii)       all pre-conditions for listing imposed by the Rules Governing the Listing of Securities on The Stock
            Exchange of Hong Kong Limited under “Qualifications of listing” have been fulfilled;

 (iii)      all (if any) conditions contained in the formal letter granting listing of and permission to deal in the
            securities have been fulfilled;
                                                                                                      March 2019
                                                                                                     Qin_00002701
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 (iv)      all the securities of each class are in all respects identical (Note 3);

 (v)       all documents required by the Companies (Winding Up and Miscellaneous Provisions) Ordinance to be
           filed with the Registrar of Companies have been duly filed and that compliance has been made with
           other legal requirements;

 (vi)      all the definitive documents of title have been delivered/are ready to be delivered/are being prepared
           and will be delivered in accordance with the terms of issue;

 (vii)     completion has taken place of the purchase by the issuer of all property shown in the listing document
           to have been purchased or agreed to be purchased by it and the purchase consideration for all such
           property has been duly satisfied; and

 (viii)    the trust deed/deed poll relating to the debenture, loan stock, notes or bonds has been completed and
           executed, and particulars thereof, if so required by law, have been filed with the Registrar of
           Companies.

Remarks (if any):




Submitted by: _________Kan Lap Kee_______________

Title:    _______Joint and Several Liquidator___________
          (Director, Secretary or other duly authorised officer)



Notes :
1.      State the class of shares (e.g. ordinary, preference or other).

2.        Items (i) to (viii) are suggested forms of confirmation which may be amended to meet
          individual cases. Where the issuer has already made the relevant confirmations in a return
          published under rule 13.25A in relation to the securities issued, no further confirmation is
          required to be made in this return.

3.        “Identical” means in this context:
              the securities are of the same nominal value with the same amount called up or paid up;
              they are entitled to dividend/interest at the same rate and for the same period, so that at
               the next ensuing distribution, the dividend/interest payable per unit will amount to
               exactly the same sum (gross and net); and
              they carry the same rights as to unrestricted transfer, attendance and voting at meetings
               and rank pari passu in all other respects.

4.        If there is insufficient space, please append the prescribed continuation sheet.


                                                                                                  March 2019
                                                                                          Qin_00002702
